
SANDERS, Justice
(dissenting).
I agree with the majority opinion as to the rule of law applicable to the closure of an agency station. I cannot agree, however, that the evidence in the instant case justifies the annulment of the order of the Louisiana Public Service Commission denying discontinuance of the Palmetto station.
Two well established principles are pertinent here. Firstly, the burden of proof is upon the applicant. Secondly, the *393judgment of the Louisiana Public Service Commission is entitled to great weight and should not be set aside in the absence of a clear showing of an abuse of power.
The applicant offered one witness, an official of the Railway company, who identified six exhibits relating to the operation of the Palmetto station. While the petition for discontinuance was predicated upon the test period 1958 and 1959, the exhibits relate to earnings for the years 1959 and 1960. Based upon an apportionment of 50% of the income received at Palmetto to that station, the exhibits show an operating loss of $4,114.44 for 1959 and $5,330.18 for 1960. They further show that the Palmetto station by rail is 10.1 miles west of Melville and 5.7 east of Rosa, and by highway 10 miles west of Melville and 6 miles east of Rosa. Both of these communities now have agency stations, but the record reveals that the closure of the Rosa station is to be sought by the applicant.
Of the nineteen witnesses who testified as opponents, ten testified as shippers, and six, as public officials. The three remaining opponents were composed of the postmaster (who testified of the inconvenience relating to the mail), the principal of the high school (who was only an occasional shipper), and another resident of the community who was not qualified either as a shipper or public official.
The evidence offered by the opposition conclusively shows that the years 1959 and 1960 were abnormal for rail shipment at this station.
Because of weather conditions and other conditions affecting crops and cattle, this portion of St. Landry Parish has been in a disaster area for about three years. Cotton production alone was only 50% of normal in 1959. In 1960 cotton production increased, but the federal cotton purchase program which was operative during the year resulted in the transportation of substantially all of the cotton produced in this area by truck to a cotton compress in Alexandria
The economic conditions of this area were further aggravated by the economic recession during 1959 and 1960.
Pertinent to a factual assessment of the shipping volume of this area is the fact that the federal cotton purchase program, which diverted substantially all of the cotton from rail shipment, terminated with the crop year 1960. Moreover, as of March 20, 1961, the date of the Commission hearing, cotton acreage allotment applications were increasing in the ward surrounding Palmetto. Because of new uses, moss production was increasing. The 1960 production was approximately 40% greater than that of 1959. Much of this moss was stockpiled in local warehouses for future shipment.
To show that no material inconvenience will result from the closure, the applicant relies upon the fact that shippers can call the Melville station by telephone and have a bill of lading mailed. This argument overlooks the fact that only one eight-party telephone line serves the entire area. A delay is involved both in calling and in transmission of the bill of lading by mail. The only alternative is to travel to Melville, a round trip distance of 20 miles from Palmetto, or Rosa (until that station is closed), a distance of 12 miles. However, if the shipper lives in the rural area surrounding Palmetto, the distance, is greater. Considerable inconvenience and expense to the shippers will result from being deprived of the services of the station master in safeguarding shipments and loading or unloading cars.
The majority opinion adverts to the failure of the witnesses, Allen Budden, L. E. Stelly, James Savage, Henry Bihm, Winfred S. Sibille, Curtis Macip, and Addie Ryder, to give any detailed testimony as to inconvenience. The record reveals that, with the approval of the Commission, these opponents were “grouped” as wit*394nesses who would corroborate the previous opposition evidence of inconvenience. That it was so understood is shown by the fact that the qrtestions put to them were restricted to those pertaining’ to qualification as witnesses before the Commission, that is, name, occupation, and shipments.
As I view it, the test period used in this case is abnormal. It does not reflect a true picture of the service of the agency station. It should be rejected. See Texas &amp; New Orleans Railroad Company v. Louisiana Public Service Commission, et al., 242 La. 349, 136 So.2d 382, No. 45, 794 of the docket of this Court handed down on January 15, 1962.
Moreover, the applicant has not borne the burden of establishing that public convenience and necessity will not be materially affected by this closure.
The Louisiana Public Service Commission is the agency charged with the special .legislative function of- regulating the public transportation system. It has special knowledge in this field. To discharge this function, it is necessary for it to evaluate conflicting interests and maintain a proper balance between urban and rural stations. In this connection its viewpoint is statewide. ■ Despite these basic considerations, the Court has proceeded forthwith to weigh the evidence and substitute its own judgment for that of the Commission.
' I do not find a sufficient showing that The Commission has abused its power in denying the closure of this station, so important to the industrial and economic 'development of the surrounding area. Moreover, in my opinion, the Commission . correctly concluded:
“The evidence adduced shows that although the station is operating presently at some loss, the agricultural economy of the area, particularly in the■ production of cotton,’has recently been below normal and that there is a distinct prospect in the improvement of the business done at the station. In addition, vigorous opposition was presented by local interests and public officials in the area who testified to the public’s need of the station, and the Commission is of the opinion that the loss being suffered by the railroad in the operation of the Palmetto station does not warrant the discontinuance of the agency in view of its requirement by the public convenience and necessity.”
For the reasons assigned, I respectfully dissent.
